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  8
                                UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
10
11      Ricardo Sherfield,                       Case No.

12                Plaintiff,
                                                 Complaint For Damages And
13        v.                                     Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14      ROIC Paramount Plaza, LLC, a             Act; Unruh Civil Rights Act
        Delaware Limited Liability
15      Company;
        99 Cents Only Stores LLC, a
16      California Limited Liability
        Company; and Does 1-10,
17
                  Defendants.
18
19
            Plaintiff Ricardo Sherfield complains of ROIC Paramount Plaza, LLC, a
20
      Delaware Limited Liability Company; 99 Cents Only Stores LLC, a California
21
      Limited Liability Company; and Does 1-10 (“Defendants”), and alleges as
22    follows:
23
24
        PARTIES:
25      1. Plaintiff is a California resident with physical disabilities. He suffers
26
      from a spinal cord injury and uses a wheelchair for mobility.
27
        2. Defendant ROIC Paramount Plaza, LLC owned the real property
28    located at or about 15727 Downey Ave, Paramount, California, in August


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  1   2020.
  2     3. Defendant ROIC Paramount Plaza, LLC owns the real property located
  3   at or about 15727 Downey Ave, Paramount, California, currently.
  4     4. Defendant 99 Cents Only Stores LLC owned 99 Cents Only Stores
  5   located at or about 15727 Downey Ave, Paramount, California, in August
  6   2020.
  7     5. Defendant 99 Cents Only Stores LLC owns 99 Cents Only Stores
  8   (“Store”) located at or about 15727 Downey Ave, Paramount, California,
  9   currently.
10      6. Plaintiff does not know the true names of Defendants, their business
11    capacities, their ownership connection to the property and business, or their
12    relative responsibilities in causing the access violations herein complained of,
13    and alleges a joint venture and common enterprise by all such Defendants.
14    Plaintiff is informed and believes that each of the Defendants herein,
15    including Does 1 through 10, inclusive, is responsible in some capacity for the
16    events herein alleged, or is a necessary party for obtaining appropriate relief.
17    Plaintiff will seek leave to amend when the true names, capacities,
18    connections, and responsibilities of the Defendants and Does 1 through 10,
19    inclusive, are ascertained.
20
21      JURISDICTION & VENUE:
22      7. The Court has subject matter jurisdiction over the action pursuant to 28
23    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
24    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
25      8. Pursuant to supplemental jurisdiction, an attendant and related cause
26    of action, arising from the same nucleus of operative facts and arising out of
27    the same transactions, is also brought under California’s Unruh Civil Rights
28    Act, which act expressly incorporates the Americans with Disabilities Act.


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  1     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
  2   founded on the fact that the real property which is the subject of this action is
  3   located in this district and that Plaintiff's cause of action arose in this district.
  4
  5
  6     FACTUAL ALLEGATIONS:
  7     10. Plaintiff went to the Store in August 2020 with the intention to avail
  8   himself of its goods and to assess the business for compliance with the
  9   disability access laws.
10      11. The Store is a facility open to the public, a place of public
11    accommodation, and a business establishment.
12      12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
13    to provide wheelchair accessible restrooms in conformance with the ADA
14    Standards as it relates to wheelchair users like the plaintiff.
15      13. The Store provides restrooms to its customers but fails to provide any
16    wheelchair accessible restrooms.
17      14. A couple of problems that plaintiff encountered is that the plumbing
18    underneath the sink was not wrapped. As a result, plaintiff got burned by the
19    exposed pipe. Additionally, the restroom sink was mounted such that the
20    counter or rim was higher than 34 inches. Finally, the coat hook was mounted
21    higher than 54 inches.
22      15. Plaintiff believes that there are other features of the restrooms that
23    likely fail to comply with the ADA Standards and seeks to have fully compliant
24    restrooms available for wheelchair users.
25      16. On information and belief, the defendants currently fail to provide
26    wheelchair accessible restrooms.
27      17. These barriers relate to and impact the plaintiff’s disability. Plaintiff
28    personally encountered these barriers.


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  1     18. As a wheelchair user, the plaintiff benefits from and is entitled to use
  2   wheelchair accessible facilities. By failing to provide accessible facilities, the
  3   defendants denied the plaintiff full and equal access.
  4     19. The failure to provide accessible facilities created difficulty and
  5   discomfort for the Plaintiff.
  6     20. The defendants have failed to maintain in working and useable
  7   conditions those features required to provide ready access to persons with
  8   disabilities.
  9     21. The barriers identified above are easily removed without much
10    difficulty or expense. They are the types of barriers identified by the
11    Department of Justice as presumably readily achievable to remove and, in fact,
12    these barriers are readily achievable to remove. Moreover, there are numerous
13    alternative accommodations that could be made to provide a greater level of
14    access if complete removal were not achievable.
15      22. Plaintiff will return to the Store to avail himself of its goods and to
16    determine compliance with the disability access laws once it is represented to
17    him that the Store and its facilities are accessible. Plaintiff is currently deterred
18    from doing so because of his knowledge of the existing barriers and his
19    uncertainty about the existence of yet other barriers on the site. If the barriers
20    are not removed, the plaintiff will face unlawful and discriminatory barriers
21    again.
22      23. Given the obvious and blatant nature of the barriers and violations
23    alleged herein, the plaintiff alleges, on information and belief, that there are
24    other violations and barriers on the site that relate to his disability. Plaintiff will
25    amend the complaint, to provide proper notice regarding the scope of this
26    lawsuit, once he conducts a site inspection. However, please be on notice that
27    the plaintiff seeks to have all barriers related to his disability remedied. See
28    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff


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  1   encounters one barrier at a site, he can sue to have all barriers that relate to his
  2   disability removed regardless of whether he personally encountered them).
  3
  4   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
  5   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
  6   Defendants.) (42 U.S.C. section 12101, et seq.)
  7     24. Plaintiff re-pleads and incorporates by reference, as if fully set forth
  8   again herein, the allegations contained in all prior paragraphs of this
  9   complaint.
10      25. Under the ADA, it is an act of discrimination to fail to ensure that the
11    privileges, advantages, accommodations, facilities, goods and services of any
12    place of public accommodation is offered on a full and equal basis by anyone
13    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
14    § 12182(a). Discrimination is defined, inter alia, as follows:
15             a. A failure to make reasonable modifications in policies, practices,
16                 or procedures, when such modifications are necessary to afford
17                 goods,     services,   facilities,   privileges,    advantages,     or
18                 accommodations to individuals with disabilities, unless the
19                 accommodation would work a fundamental alteration of those
20                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
21             b. A failure to remove architectural barriers where such removal is
22                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
23                 defined by reference to the ADA Standards.
24             c. A failure to make alterations in such a manner that, to the
25                 maximum extent feasible, the altered portions of the facility are
26                 readily accessible to and usable by individuals with disabilities,
27                 including individuals who use wheelchairs or to ensure that, to the
28                 maximum extent feasible, the path of travel to the altered area and


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  1                the bathrooms, telephones, and drinking fountains serving the
  2                altered area, are readily accessible to and usable by individuals
  3                with disabilities. 42 U.S.C. § 12183(a)(2).
  4     26. When a business provides facilities such as restrooms, it must provide
  5   accessible restrooms.
  6     27. Here, accessible restrooms have not been provided in conformance with
  7   the ADA Standards.
  8     28. The Safe Harbor provisions of the 2010 Standards are not applicable
  9   here because the conditions challenged in this lawsuit do not comply with the
10    1991 Standards.
11      29. A public accommodation must maintain in operable working condition
12    those features of its facilities and equipment that are required to be readily
13    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
14      30. Here, the failure to ensure that the accessible facilities were available
15    and ready to be used by the plaintiff is a violation of the law.
16
17    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
18    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
19    Code § 51-53.)
20      31. Plaintiff repleads and incorporates by reference, as if fully set forth
21    again herein, the allegations contained in all prior paragraphs of this
22    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
23    that persons with disabilities are entitled to full and equal accommodations,
24    advantages, facilities, privileges, or services in all business establishment of
25    every kind whatsoever within the jurisdiction of the State of California. Cal.
26    Civ. Code §51(b).
27      32. The Unruh Act provides that a violation of the ADA is a violation of the
28    Unruh Act. Cal. Civ. Code, § 51(f).


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  1      33. Defendants’ acts and omissions, as herein alleged, have violated the
  2   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
  3   rights to full and equal use of the accommodations, advantages, facilities,
  4   privileges, or services offered.
  5      34. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
  6   discomfort or embarrassment for the plaintiff, the defendants are also each
  7   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
  8   (c).)
  9
10
11
12              PRAYER:
13              Wherefore, Plaintiff prays that this Court award damages and provide
14    relief as follows:
15            1. For injunctive relief, compelling Defendants to comply with the
16    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
17    plaintiff is not invoking section 55 of the California Civil Code and is not
18    seeking injunctive relief under the Disabled Persons Act at all.
19            2. Damages under the Unruh Civil Rights Act, which provides for actual
20    damages and a statutory minimum of $4,000 for each offense.
21            3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
22    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
23
      Dated: August 19, 2020               CENTER FOR DISABILITY ACCESS
24
25
                                           By:
26
27                                         _______________________

28                                                Russell Handy, Esq.
                                                  Attorney for plaintiff


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